                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                              3:04-CR-00271-RJC-DCK
USA                                              )
                                                 )
   v.                                            )                 ORDER
                                                 )
ILA LITTLE HOWARD                                )
                                                 )

        THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine, (Doc. No. 512), and for appointment of counsel, (Doc. No. 520).

        The defendant pled guilty to conspiracy to commit various federal offenses, in violation

of 18 U.S.C. § 371 (Count One); wire fraud, in violation of 18 U.S.C. § 1952(a) (Counts Nine,

Ten, Eleven); conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h)

(Count Twelve); and conspiracy to possess with intent to distribute cocaine base, in violation of

21 U.S.C. § 846 (Count 13). (Doc. No. 353: Judgment at 1; Doc. No. 106: Plea Agreement at 1-

2). At the sentencing hearing, the Court adopted the Presentence Report (PSR) without change

to the guidelines calculations which were based on guidelines other than §2D1.1. (Doc. No. 354:

Statement of Reasons (SOR) at 1; Doc. No. 371: PSR at ¶¶ 38, 39). Accordingly, the

defendant’s guideline range has not been altered by any retroactive amendments and she is not

entitled to a sentence reduction. USSG §1B1.10(a)(2)(B).

        IT IS, THEREFORE, ORDERED that the defendant’s motion for a sentence reduction,

(Doc. No. 512), is DENIED.

        IT IS FURTHER ORDERED that defendant’s motion for appointment of counsel,

(Doc. No. 520), is DENIED as moot. An administrative Order already provided for the




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appointment of the Federal Defender’s Office to consider whether the defendant was eligible for

a sentence reduction. (Case No. 3:11-mc-179, Doc. No. 1).

       The Clerk is directed to certify copies of this Order to the defendant, Federal Defenders

of Western North Carolina, Inc., the United States Attorney, the United States Marshals Service,

and the United States Probation Office.

                                                      Signed: June 18, 2013




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